Case 2:Ol-CV-02569-SH|\/|-tmp Document 155 Filed 05/20/05 Page 1 of 2 Page|D 173

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UNITED sTATEs DISTRICT coURT F"~EU "‘-’1"€` % 5"-"3-
wEsTERN DISTRICT oF TENNESSEE
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THE NATIONAL MINORITY SUPPLIER

DEVELOPMENT COUNCIL BUSINESS

CONSORTIUM FUND,r INC.,
Plaintiff,

v. Cv. No. 01-2569-Ma
UNION PLANTERS NATIONAL BANK and

CLARENCE J. HARRIS, JR., individually

and RIVER CITY RAILROAD CONTRACTORS, INC.,

Defendants.

\JTJI)GHMEEBET
Decision by Court. This action came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed
with prejudice, in accordance with the Order of Dismissal,
docketed May lB, 2005.

AP PROVED .

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 155 in
case 2:01-CV-02569 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

